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UNITED STATES DISTRICT COURT FOR THE

 

DISTRICT OF MAINE
_ `_ )
)
BRETT BABER, et al. )
)
Plaintifl`s, )

) Case No.
v- )
)

MATTHEW DUNLAP, Secretary of the ) AFFIDAVIT

State of Maine. )
)
)
Defendant. )

 

AFFIDAVIT OF BRUCE POLIQUIN IN SUPPORT OF PLAINTIFFS’ MOTION
FOR A TEMPORARY RESTRAINING ORDER

I, Bruce Poliquin, hereby declare as follows under penalty of peljury:

l. The following statements are based on my personal knowledge, and if called to
testify I could swear competently thereto.

2. I am at least 18 years old and of sound mind.

3. lam a citizen of the United States and of the State of Maine. I reside at 123 Snow
Pond Road, Oakland, ME 04963.

4. I am an eligible Maine voter and am duly registered to vote in Maine’s Second
Congressional District.

5. I am the incumbent Member of Congress from Maine’s Second Congressional
District and was a candidate for re-election to that office in the November 6, 2018 general
election.

6. I voted in the November 6, 2018 general election.

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7. Consistent with Maine’s current use of ranked-choice voting in elections for
federal office, I voted for myself as my first choice to serve as the U.S. Representative for
Maine’s Second Congressional District. I did not rank or otherwise vote for any of the other
remaining choices on the ballot for that office.

8. Based on unofficial results released by the Secretary of State’s office, I received
the highest number of first-choice votes cast in the November 6, 2018 general election.

9. But for the RCV Act, the Defendant would be required to certify me as the winner
of the election based on these results.

lO. However, the Defendant has refused to certify my election and is reportedly
proceeding to count votes pursuant to the RCV Act. Under the ranked-choice voting system, the
votes of others in the Second Congressional District who selected William Hoar or Tiffany Bond
as their first choice for U.S. Representative are now reportedly in the process of being
reallocated to the top-two finishing candidates, including Jared Golden.

ll. Reports indicate that when the counting and tabulation is complete, Defendant
intends to certify the results of the election pursuant to the RCV Act.

12. If the RCV Act is ultimately determined to be unconstitutional, my right to be
certified as the winner of this election to federal office will be irreparably hanned.

13. Separately and in addition, my vote is being diluted by the votes of others who
designated Hoar and Bond as their first choice and whose ballots are now reportedly being
counted for other candidates

14. As long as the Defendant continues to count and tabulate votes under the
unconstitutional ranked-choice voting system, I will continue to suffer irreparable harm to my

constitutionally protected right to vote.

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FURTHER AFFIANT SAYETH NOT.

 

Bruce Poliquin

Swom to and subscribed before me

this E£ day of November 2018.

MlCHELLE DALE
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My Commlu|on Explres September 29, 2022

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